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 6

 7

 8
                                   UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10

11                                                  )
     UNITED STATES OF AMERICA,                      )
12                                                  )    2:12-cr-0376-TLN
                     Plaintiff,                     )
13                                                  )
            vs.                                     )
14                                                  )    STIPULATION FOR CONTINUANCE OF
                                                    )    STATUS CONFERENCE FOR
15                                                  )    DEFENDANT JORGE MEDINA
     JORGE MEDINA VASQUEZ, et al.                   )    VASQUEZ; ORDER
16                                                  )
                     Defendants.                    )
17

18

19
            Plaintiff, the United States of America, by and through its counsel of record, and the
20
     Defendant Jorge Medina Vasquez, by and through his counsel of record, hereby stipulate as
21

22   follows:

23   1. By previous order, this matter was set for status on May 29, 2014.
24
     2. By this stipulation, the Defendant Jorge Medina Vasquez now requests to continue the status
25
        conference until August 14, 2014, at 9:30 a.m., and to exclude time between May 29, 2014
26
        and August 14, 2014, under Local Code T4. Plaintiff does not oppose Defendant’s request.
27

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     3. The parties agree and stipulate, and request, that the Court find the following:
 1

 2          a. The government has represented that the discovery associated with this case includes

 3              several discs containing audio recordings, and related documents in electronic form.
 4
                All of the discovery has been either produced directly to counsel and/or made
 5
                available for inspection and copying.
 6

 7
            b. Counsel for Defendant Jorge Medina Vasquez desires additional time to consult with

 8              his client, to review the current charges, to conduct further investigation and research
 9              related to the charges, to review and copy discovery for this matter, to discuss
10
                potential resolutions with his client, to prepare pretrial motions, and to otherwise
11
                prepare for trial.
12

13          c. Counsel for the Defendant Jorge Medina Vasquez believes failure to grant the above-

14              requested continuance would deny him the reasonable time necessary for effective
15
                preparation, taking into account the exercise of due diligence.
16
            d. The government does not object to the request for continuance.
17
            e. Based on the above-stated findings, the ends of justice served by continuing the case
18

19              as requested outweigh the interest of the public and the Defendant in a trial within the

20              original date prescribed by the Speedy Trial Act.
21
            f. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
22
                seq., within which trial must commence, the time period of May 29, 2014 and August
23
                14, 2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),
24

25              B(iv) [Local Code T4] because it results from a continuance granted by the Court at

26              Defendant Jorge Medina Vasquez’ request on the basis of the Court's finding that the
27

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                ends of justice served by taking such action outweigh the best interest of the public
 1

 2              and the Defendant Jorge Medina Vasquez in a speedy trial.

 3   4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
 4
        Speedy Trial Act dictate that additional time periods are excludable from the period within
 5
        which a trial must commence.
 6

 7
     IT IS SO STIPULATED.

 8

 9

10
     Dated: May 28, 2014                           BENJAMIN WAGNER
                                                   U.S. ATTORNEY
11
                                                   by:      /s/ Jill Thomas
12
                                                            JILL THOMAS
13                                                          Assistant U.S. Attorney
                                                            Attorney for Plaintiff
14

15
     Dated: May 28, 2014                           by:      /s/ Russell S. Humphrey
16                                                          RUSSELL S. HUMPHREY
                                                            Attorney for Jorge Medina Vasquez
17

18
                                                 ORDER
19

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     IT IS SO FOUND AND ORDERED this 30th day of May, 2014.
21

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25
                                        Troy L. Nunley
26                                      United States District Judge
27

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     Stipulated and Order                                - 3 -
